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                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                           PLAINTIFF

     v.                      NO. 6:09cr60006-RTD-4

RICHARD W. ROBBINS                                                 DEFENDANT

                          SENTENCING MEMORANDUM

      On December 8, 2009, this Court held a sentencing hearing in

the above-captioned matter. Specifically addressed was whether the

two-level vulnerable victim enhancement at U.S.S.G. § 3A1.1(b)(1)

applies in this case.      For reasons that follow, the Court holds

that § 3A1.1(b)(1) should be applied to properly compute the

guideline   range   for   Defendant’s    sentence,    and   as   a   result,

Defendant’s offense level must be increased by two levels.

I.   Standard

     In determining the vulnerability of a victim, the court must

find that the defendant knew or should have known that the victim

of his or her crime was “unusually vulnerable due to age, physical

or mental condition, or . . . otherwise particularly susceptible to

the criminal conduct.”      U.S.S.G. § 3A1.1(b)(1) & n.2.         The court

cannot make a blanket assumption about the applicability of the

enhancement based strictly on a particular characteristic of the

victim.   United States v. Anderson, 440 F.3d 1013, 1018 (8th Cir.

2006) (holding U.S.S.G. § 3A1.1(b)(1) did not automatically apply

based on advanced age of victim).          Rather, the Government must

demonstrate the predicate facts supporting the enhancement by a
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preponderance of the evidence.          United States v. Myers, 481 F.3d

1107, 1110 (8th Cir. 2007). In sum, application of the enhancement

requires a fact-based explanation of how the characteristic in

question made the victim “unusually vulnerable,” and why the

defendant knew or should have known of this vulnerability.              United

States v. Vega-Iturrino, 565 F.3d 430, 434 (8th Cir. 2009).

II.   Factual Findings

      Based    on   the   information   before   it,   the   Court   finds as

follows:

      1. The victims in this case are LS and her three minor

children.      LS is a white female and each of her children was

fathered by an African American male.

      2. In early June 2008, LS and her minor children moved from

Arkadelphia, Arkansas to the nearby town of Donaldson. The racial

composition of Donaldson is almost exclusively Caucasian.

      3.      In June 2008, LS’s minor children were ages five years,

nineteen months, and four months.

      4.      On June 15, 2008, Defendant and others discussed that

they did not want the victims living in Donaldson because they

associated with “niggers.”

      5.      After this discussion, Defendant drove to the victims’

home to threaten and intimidate them.

      6.      To threaten and intimidate LS and her children, Defendant

and others agreed to construct a wooden cross. Defendant attempted


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to recruit another individual to assist in the construction of the

cross.

III.    Analysis

       To determine whether U.S.S.G. § 3A1.1(b)(1) should be applied

in this case, the Court must first find that the victims of

Defendant’s crimes were “unusually vulnerable” or “particularly

susceptible to the criminal conduct.”             Vega-Iturrino, 565 F.3d at

434.     In this regard, the Court finds that at the time of the

crimes, LS’s children were ages five years, nineteen months, and

four months.    The crimes took place at the home of these victims,

and based on their ages, the minor victims completely lacked the

capacity to either prevent or defend against the violation of their

rights by Defendant.       United States v. Pospisil, 186 F.3d 1023,

1030 (8th Cir. 1999) (affirming application of § 3A1.1(b)(1) in

cross burning case where victims–a mother and her children–were new

in town and children were young in age).              Further, based on the

presence of her three young children at her home at the time of the

offense conduct, LS had little ability to either prevent or defend

against the violation of her civil rights.              Defendant’s conduct

basically    forced   LS   to   choose    between     being   the   victim    of

Defendant’s conduct or potentially placing her children at risk by

attempting to resist.      United States v. Plenty, 335 F.3d 732, 735

(8th Cir. 2003) (affirming application of § 3A1.1(b)(1) where

victim was asleep at time of assault, could not contact law


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enforcement, and could not flee or move her children away from the

crime).    Finally, at the time of the offense conduct, LS and her

children had been residents of the small town of Donaldson for only

a few weeks.    Based on this fact, they were vulnerable due to their

lack of a connection to the community.            In other words, the victims

lacked the sort of support network that could have served to

mitigate the effects of Defendant’s conduct and thereby render them

less vulnerable.       Pospisil, 186 F.3d at 1030.            Thus, LS and her

children    were     both   “unusually    vulnerable”     and    “particularly

susceptible to the criminal conduct.”             U.S.S.G. § 3A1.1(b)(1).

       The Court must now determine whether Defendant knew or should

have   known    of   the    vulnerability    of    LS   and   her   children.

Vega-Iturrino, 565 F.3d at 434.          The facts before the Court show

that the catalyst for Defendant’s conduct was the relocation of LS

and her three young children from Arkadelphia to Donaldson.

Particularly, Defendant did not want these individuals to reside in

his predominately white town because they associated with African

Americans.     Based on these facts, Defendant necessarily knew about

LS’s children and either knew or should have known of their young

ages. Further, Defendant necessarily knew LS and her children were

new residents of Donaldson.        Thus, Defendant knew or should have

known of the vulnerability of LS and her young children.




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IV.   Conclusion

      Children   have     an   absolute      right   not   to   be       intimidated,

coerced, threatened, or scared because of their race or the race of

their parents.      The Court acknowledges that Defendant may have

intended to create fear only on the part of LS.                      However, the

effects of Defendant’s conduct may last the lifetime of each of his

victims, even if some of those victims come to know of and fully

understand Defendant’s conduct in later years.

      The Court holds that § 3A1.1(b)(1) should be applied when

computing Defendant’s offense level.                 As a result, his total

offense level is sixteen (16).

      On December    1,    2009,      the   Government     filed     a    Motion   for

Downward Departure Pursuant to 18 U.S.C. § 3553(e) and U.S.S.G. §

5K1.1.   (Doc. 98).       The Court finds that the Defendant provided

truthful, complete, and reliable information about the involvement

of his Co-Defendants in this case.               Defendant’s cooperation and

agreement to testify for the Government ultimately led to the

guilty   pleas   entered       by    his    Co-Defendants.         Therefore,      the

Government’s motion is GRANTED.

      The Government asks that Defendant be sentenced under the

Federal Sentencing Guidelines at offense level twelve (12).                    Based

on Defendant’s criminal history category of I, the sentencing

guidelines recommend a term of imprisonment for 10-16 months, a

fine in the range of $2,000-$20,000, a term of supervised release


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for 2-3 years, and a mandatory special assessment of $100 per

count.   Based on this recommendation and upon consideration of the

sentencing   factors   at   18 U.S.C.   §   3553(a), the      Court   hereby

sentences Defendant to one (1) year and one (1) day in prison, a

three (3) year term of supervised release, a fine of $5,000, and a

special assessment of $200.

   IT IS SO ORDERED this 8th day of December 2009.

                                        /s/ Robert T. Dawson
                                        Honorable Robert T. Dawson
                                        United States District Judge




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